
May 28, 2002 is set as the date for appellant to file a periodic progress report. Appellant shall file additional periodic progress reports every two months thereafter until the filing of appellant’s reply brief. Respondent shall file a periodic progress report on April 30, 2003.
On or before January 27, 2003, appellant shall file 15 copies of a brief and of the issue identification statement required by section 510.8 (c) of the Rules of the Court of Appeals in Capital Cases (22 NYCRR 510.8 [c]), with proof of service.
March 31, 2003 is set as the date by which all motions for amicus curiae relief must be noticed to be heard. All such motions must conform to section 510.12 (c) of the Rules of the Court of Appeals in Capital Cases (22 NYCRR 510.12 [c]).
On or before June 30, 2003, respondent shall file 15 copies of a brief responding to appellant and, as appropriate, amici curiae, with proof of service.
June 30, 2003 is set as the date that the People shall file one copy of all transcripts and documents concerning any grand jury testimony or evidence and any decisions attendant thereto.
On or before September 3, 2003, appellant shall file 15 copies of a reply brief which shall also respond, as appropriate, to amici curiae, with proof of service.
Pursuant to section 510.1 (b) of the Rules of the Court of Appeals in Capital Cases (22 NYCRR 510.1 [b]), the parties and each amicus curiae shall serve and file the requisite number of copies of a companion CD-ROM brief within 20 days after the filing of the printed version of the brief.
Issues regarding the proportionality or excessiveness of the sentence shall not be briefed by the parties to the appeal or any movants seeking amicus curiae relief until so directed by the Court the Appeals.
